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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

   STATE OF MISSOURI, et al.,

                   Plaintiffs,
                                                    No. 4:21-cv-01329
      v.

   JOSEPH R. BIDEN, JR.,
   in his official capacity as the President of
   the United States of America, et al.,
                   Defendants.

                       PLAINTIFF STATES’ MOTION TO LIFT
                 THE STAY OF THE DISTRICT COURT PROCEEDINGS

       Plaintiffs, the States of Missouri, Nebraska, Arkansas, Kansas, Iowa, Wyoming, Alaska,

South Dakota, North Dakota, and New Hampshire, respectfully request that the Court lift the stay

of the district court proceedings entered on December 22, 2021. See Doc. 40. In support of this

Motion, the Plaintiff States incorporate by reference the arguments in their accompanying Memo-

randum in Support.
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Dated: February 23, 2022                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on February 23, 2022, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system and to be served on those

parties that have not appeared who will be served in accordance with the Federal Rules of Civil

Procedure by mail or other means agreed to by the party.

                                                                      /s/ Jesus A. Osete
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